209 F.2d 307
    93 U.S.App.D.C. 220
    MINS et al.v.McCARTHY.
    Misc. 413.
    United States Court of AppealsDistrict of Columbia Circuit.
    Argued Dec. 12, 1953.Decided Dec. 12, 1953.
    
      [93 U.S.App.D.C. 221] Mr. Victor Rabinowitz, New York City, of the Bar of the Supreme Court of New York, pro hac vice, for petitioners.  Messrs. David Rein and Joseph Forer, Washington, D.C., also entered appearances for petitioners.
      Mr. Thomas W. LaVenia, New York City, of the Bar of the Supreme Court of New York pro hac vice, for respondent.  Messrs. Leo A. Rover, U.S. Atty., and Frank H. Strickler, Asst. U.S. Atty., Washington, D.C., also entered appearances for respondent.
      Before PRETTYMAN, FAHY and WASHINGTON, Circuit Judges.
      PER CURIAM.
    
    
      1
      The above-entitled matter came on for hearing on petitioners' motion for leave to file an applicattion for stay and on respondent's answer and motion to deny the motion for leave to file the application for stay or in the alternative to deny the application for stay, and was argued by counsel and duly considered by the Court.
    
    
      2
      The Court is of the opinion that where a committee of the Congress has issued a subpoena ad testificandum to a witness to appear at a hearing, without defining the questions to be asked, the judicial branch of the Government should not enjoin in advance the holding of the hearing or suspend the subpoena.  The rights of witnesses in respect of any question actually asked at the hearing are subject to determination in appropriate proceedings thereafter.
    
    
      3
      Accordingly, it is order by the Court that petitioners' motion for leave to file an application for stay be, and it is hereby, denied.
    
    